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                             UNITED STATES COURT OF APPEALS

                                  FOR THE FOURTH CIRCUIT
                                                                           FILED
                                                                     February 20, 2007

                   Lead Case: 07-4059 US v. Learley R. Goodwin




                                         No. 07-4062
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LANORA N. ALI, a/k/a La Nora Ali-Gardner

                  Defendant - Appellant



                                         _________

                                         O R D E R
                                         _________

                Appellant's counsel has filed a motion to withdraw from

          further representation of Lanora Ali on appeal.

                The Court grants the motion to withdraw.


                                             For the Court - By Direction



                                             /s/ Patricia S. Connor
                                             _________________________
                                                        CLERK
